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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHY BARNETTE, individually and as a           :
candidate for Pennsylvania’s 4th Congressional  :
District and on behalf of all citizen electors of
                                                : Civil Action No. 2:20-cv-05477
Berks County, Pennsylvania, et al.              :
                                                :
                               Plaintiffs,      :
            v.                                  :
                                                :
KENNETH E. LAWRENCE JR., Chair of the :
Montgomery County Board of Elections and Vice :
Chair of the Montgomery County Board of :
Commissioners, in his official capacity, et al. :
                                                :
                               Defendants.



                    MEMORANDUM IN SUPPORT OF THE
               MOTION FOR A TEMPORARY RESTRAINING ORDER

      1. Plaintiffs, Kathy Barnette and Clay Breece, by and through her undersigned counsel,

         move this Court to issue a Temporary Restraining Order, pursuant to Federal Rule of

         Civil Procedure 65(b) to enjoin Defendants, the Montgomery County Board of

         Elections, Kenneth E. Lawrence Jr., Valarie A. Arkoosh, MD, MPH, and Frank Dean,

         from pre-canvassing prior to Election Day and from continuing to provide electors an

         opportunity to change submitted, mail-in ballots or submitted absentee ballots prior to

         Election Day, on Election Day, or after Election Day contrary to the provisions of the

         Election Code.

      2. Further, Plaintiffs move this Honorable Court for a Temporary Restraining Order,

         pursuant to Federal Rule of Civil Procedure 65(b), et seq., to enjoin the Defendants and

         their agents from continued violations of the Pennsylvania Election Code related to any

         perceived or actual defective mail-in ballots or any perceived or actual defective

         absentee ballots, which are being improperly handled by Defendants and to Order that
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         all of the said defective ballots and their “replacements” are set aside without requiring

         the posting of funds by the Plaintiffs, and further providing for the proper handling of

         all mail-in ballots and absentee ballots cast in Montgomery County.

      3. The motion for temporary restraining order is supported by Plaintiff’s Complaint for

         Declaratory and Injunctive as well as the exhibits to the Complaint, which are

         hereinafter incorporated by reference into this Memorandum.

      4. As pled in the Complaint, Plaintiffs will face irreparable harm if a Temporary

         Restraining Order is not issued as multiple individuals have already been allowed to

         cure their defective ballots, and Montgomery County is continuing to allow voters who

         submitted mail-in ballots or absentee ballots to change their ballots even on Election

         Day.

      5. Further, there is a substantial probability that the Plaintiffs will succeed in their

         challenge that the Board of Elections’ actions are a direct violation of the Equal

         Protection Clause of the Fourteenth Amendment to the United States Constitution.

      6. The harm to the Defendants will be minimal if Plaintiffs’ requested relief is granted

         because both Plaintiff and Defendants have a direct interest in maintaining election

         security and integrity.

      7. For all these reasons, Plaintiffs respectfully request that this Court grant the Motion for

         Temporary Restraining Order.

                                                    Respectfully Submitted,

                                                    DILLON, MCCANDLESS, KING,
                                                    COULTER & GRAHAM, LLP

Dated: November 3, 2020                             By: /s/ Thomas E. Breth
                                                            Thomas E. Breth
                                                            Jordan P. Shuber

                                                    Counsel for Plaintiff
